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                              UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      (MIAMI, DIVISION)

      In re:                              :                      CASE NO.: 19-26391-LMI
                                          :
      NICOLAS VILLALOBOS                  :                      CHAPTER 7
                                          :
            Debtor.                       :
      ____________________________________/

                                 TRUSTEE’S OBJECTION TO CLAIM

                               IMPORTANT NOTICE TO CREDITORS:
                              THIS IS AN OBJECTION TO YOUR CLAIM

                     This objection seeks either to disallow or reduce the amount or change
                 the priority status of the claim filed by you or on your behalf. Please
                 read this objection carefully to identify which claim is objected to and
                 what disposition of your claim is recommended.

                    If you disagree with the objection or the recommended treatment, you
                 must file a written response WITHIN 30 DAYS from the date of service
                 of this objection, explaining why your claim should be allowed as
                 presently filed, and you must serve (mail) a copy to the Trustee OR
                 YOUR CLAIM MAY BE DISPOSED OF IN ACCORDANCE WITH
                 THE RECOMMENDATION IN THIS OBJECTION.

                       Any written response must contain the case name, case number, and
                   must be filed with the Clerk of the United States Bankruptcy Court, C.
                   Clyde Atkins United States Courthouse, 301 N. Miami Avenue, Room
                   150, Miami, FL 33128.
               Pursuant to FRBP 3007 and Local Rule 3007-1, the Trustee objects to the following claims
      filed in this case:

      Claim                                       Amount of              Basis for Objection and
      No.           Name of Claimant              Claim                  Recommended Disposition

4-1             Space Coast Credit Union           $4,414.58      Objection: Based upon the Trustee’s
                Isabella V Colleran, Esq.                         ongoing review of the claims filed in
                Blaxberg Grayson Kukoff &                         this matter, and the Debtor’s
                Forteza, P.A.                                     bankruptcy petition and schedules and
                25 SW 2nd Avenue Suite 730                        other relevant financial documents, the
                Miami, FL 33131                                   Trustee submits that the Trustee is
                                                                  unable to verify the validity of the claim
                                                                  asserted in Claim No. 4-1, filed by
                                                                  Blaxberg Grayson Kukoff & Forteza,
                                                                  P.A. in the amount of $4,414.58. The
                                                                  Trustee submits that the property
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                                     attached to this claim was abandoned
                                     [D.E. 16] and the Debtor’s intention
                                     was to surrender the property [D.E. 24].

                                     Specifically, the Trustee is unable to
                                     ascertain whether the Claimant in fact
                                     has a claim against the Debtor’s estate
                                     for the following reasons:

                                         1. The Claimant has not produced
                                            any documentation to the
                                            Trustee which enables the
                                            Trustee to verify the validity of
                                            the claim. For example, if the
                                            property was repossessed and
                                            sold, the Trustee requests the
                                            production of an account
                                            statement evidencing the claim
                                            amount is a deficiency balance.

                                         2. The Trustee’s concerns are
                                            consistent          with        the
                                            requirements                     of
                                            Fed.R.Bankr.P.3001, and the
                                            provisions of 11 U.S.C.
                                            §502(b). Rule 3001(c)(3)(B)
                                            provides that “on written
                                            request by a party in interest,
                                            the holder of a claim based on
                                            an open-end or revolving
                                            consumer credit agreement
                                            shall, within 30 days after the
                                            request is sent, provide the
                                            requesting party a copy of the
                                            writing specified in paragraph
                                            (1) of this subdivision,” i.e. the
                                            writing upon which the proof of
                                            claim is based. With respect
                                            to the provisions of §502(b)(1),
                                            it is well established that claims
                                            shall not be allowed if the claim
                                            would be unenforceable against
                                            the Debtor under applicable
                                            non-bankruptcy law. If the
                                            Trustee cannot tell based on the
                                            claim, as it is filed, whether the
                                            creditor authorized the filing of
                                            the proof of claim, then it is
                                            similarly impossible to tell
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                                              whether     the     claim    is
                                              enforceable against the Debtor.
                                              Additionally, if the Trustee
                                              cannot tell whether a claim is
                                              valid and enforceable against
                                              the Debtor based on the claim
                                              as-filed, then the Trustee
                                              cannot perform his statutory
                                              duties pursuant to 11 U.S.C.
                                              §704(5).

                                     The Trustee requests that the Claimant
                                     produce documentation to the Trustee
                                     in order to establish the validity and
                                     extent of this Claim, specifically an
                                     account statement, a credit agreement,
                                     or another document which clear
                                     evidences the pre-petition Debtor-
                                     Creditor relationship.

                                     This information and/or documentation
                                     should be produced to the Trustee at his
                                     business address at 16 SW 1st Avenue,
                                     Miami, FL 33130 and should clearly
                                     state the name of the Debtor, the Case
                                     Number, the Claim Number, and the
                                     Claimant’s name.

                                     Recommended Disposition: In the
                                     event that the Claimant is unable to
                                     provide the Trustee with sufficient
                                     information and/or documentation to
                                     allow the Trustee to ascertain the
                                     validity and extent of the Claim, the
                                     Trustee requests that Claim No. 4-1 be
                                     stricken and disallowed.
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true copy of the foregoing was mailed on this 3rd day of
June, 2020 to: the creditors listed in the Objection to Claim as follows:
Space Coast Credit Union
Isabelle V Colleran, Esq.
Attorney for Space Coast Credit Union
Blaxberg Grayson Kukoff & Forteza, P.A.
25 SW 2nd Avenue Suite 730
Miami, FL 33131
       I CERTIFY THAT a copy of the foregoing was served via the Notice of Electronic Filing
on this 3rd day of June, 2020, to:

   •   Robert A Angueira      trustee@rabankruptcy.com,
       fl79@ecfcbis.com;raa@trustesolutions.net;tassistant@rabankruptcy.com;richard@rabank
       ruptcy.com;lillian@rabankruptcy.com
   •   Isabel V Colleran    isabel.colleran@blaxgray.com, legalassistB@blaxgray.com
   •   Office of the US Trustee     USTPRegion21.MM.ECF@usdoj.gov
   •   Robert Sanchez     court@bankruptcyclinic.com, r51375@notify.bestcase.com


       Dated: June 3, 2020

                                              ROBERT A. ANGUEIRA
                                              Chapter 7 Trustee
                                              16 SW 1st Avenue
                                              Miami, FL 33130
                                              Tel. (305) 263-3328
                                              e-mail trustee@rabankruptcy.com

                                              By     /s/ Robert A. Angueira, Esq.
                                                    ROBERT A. ANGUEIRA
                                                    Chapter 7 Trustee
                                                    Florida Bar No. 0833241
